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Attorneys for Plaintiff Stefanie S. Pickard



                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO


 STEFANIE S. PICKARD, F/K/A STEFANIE
 S. MENARD                                             Case No.

                        Plaintiff,                     COMPLAINT AND DEMAND FOR
                                                       TRIAL
 vs.
                                                       Filing Fee: $400.00
 UNITED STATES OF AMERICA,

                        Defendant.

       Plaintiff Stephanie Pickard (“Pickard”), formally known as Stefanie S. Menard,

individually, through her counsel of record, Law Offices of Comstock & Bush, for her Complaint

against Defendant United States of America, states as follows:

                                          I.
                          PARTIES, JURISDICTION AND VENUE

       1.      This action is brought against Defendant United States of America under the

Federal Tort Claims Act, 28 U.S.C. § 2671, et seq., and 28 U.S.C. §1346(b)(1), for negligence and




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professional malpractice in connection with medical care provided to Plaintiff Pickard by the U.S.

Department of Veterans Affairs at the Boise Veterans’ Administration Medical Center.

         2.    The claims herein are brought against the Defendant pursuant to the Federal Tort

Claims Act, 28 U.S.C. § 2671, et seq., and 28 U.S.C. §1346(b)(1), for money damages as

compensation for personal injuries caused by the Defendant’s negligence.

         3.    Plaintiff has fully complied with the provisions of 28 U.S.C. §2675 of the Federal

Tort Claims Act.

         4.    Plaintiff has complied with the statutory notice provisions of the Federal Tort

Claims Act, 28 U.S.C. § 1346(b) and 28 U.S.C. §§2671, et seq., by timely filing a claim for

damages on October 8, 2020. More than six months have passed since with no response from the

Defendant. Plaintiff Pickard is now filing this Complaint pursuant to 28 U.S.C. § 2401(b).

         5.    The Federal Tort Claims Act, by way of the VA Immunity Statute, 38 U.S.C. §7316,

provides the sole remedy for actions arising from alleged medical malpractice by a VA healthcare

employee acting within the course and scope of employment with the VA, and provides that proper

cause of action is to be made against the United States, not the individual healthcare employee.

         6.    At all times relevant hereto Plaintiff Pickard was a U.S. Military Veteran residing

in Boise, Ada County, Idaho.

         7.    At all times relevant hereto, Defendant United States of America, was a

governmental entity, acting through its agency, the U.S. Department of Veterans Affairs, operating

the Boise Veterans’ Administration Medical Center located at 500 W. Fort Street, Boise, Idaho

83702.

         8.    Defendant United States of America, including its directors, officers, operators,

administrators, employees, agents, and staff at the Boise Veterans’ Administration Medical Center,




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are hereinafter collectively referred to as “Boise VA Medical Center.”

          9.     At all times relevant hereto, the various medical personnel providing care to the

Plaintiff were authorized and/or licensed to practice medicine in the State of Idaho and acting

within the course and scope of an agent, apparent agent, servant, representative, and/or employee

status with Defendant United States of America and the Boise VA Medical Center.

          10.    At all times relevant to this Complaint, the Boise VA Medical Center held

themselves out to the Plaintiff, an eligible beneficiary, as a provider of high-quality healthcare

services, with the experience necessary to maintain the health and safety of patients like the

Plaintiff.

          11.    At all times relevant to this Complaint, the directors, officers, operators,

administrators, employees, agents, apparent agents and staff were employed by and/or acting on

behalf of the Defendant. Furthermore, Defendant is responsible for the negligent acts of their

employees and agents under respondeat superior.

          12.    This Court has jurisdiction pursuant to 28 U.S.C. § 1346(b) and 28 U.S.C. §§2671,

et seq.

          13.    Venue in this District is proper under 28 U.S.C. § 1402(b), in that all, or a

substantial part of the acts and omissions forming the basis of these claims occurred in the District

of Idaho.


                                            II.
                                   FACTUAL ALLEGATIONS

          14.    Plaintiff Pickard is a U.S. Military Veteran, who served as a flight nurse in the US

Air Force. Plaintiff Pickard has suffered from low back problems related to her military service.

Plaintiff Pickard underwent a lumbar MRI on December 4, 2017 which revealed some mild




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spondylosis with a small left central L4-L5 caudally migrated extrusion and a small central L5-S1

protrusion.

       15.     In late February of 2019, Plaintiff Pickard slipped on ice in her driveway. Plaintiff

Pickard fell to the ground and had an onset of lower back pain. After unsuccessful conservative

treatment at home, she presented to her primary care provider, Angela Radimer, PA-C at the Boise

VA Medical Center Women’s Clinic for evaluation. This occurred on March 4, 2019. Plaintiff

Pickard reported spasm like symptoms and pain in her lower back which were exacerbated when

lifting her infant baby. Plaintiff Pickard requested imaging given her history of spinal disk

herniation. Ms. Radimer declined to order imaging and diagnosed Plaintiff Pickard ’s condition as

likely myofascial in nature and prescribed conservative treatment of rest and medication

management. Plaintiff Pickard was actively breastfeeding at the time of this visit and therefore

declined narcotic medication in order to manage her low back pain. Ms. Radimer prescribed

topical anti-inflammatories and a muscle relaxer.

       16.     Subsequently, continuing to have severe low back pain with the onset of some

radiating symptoms and little to no relief with the medications prescribed, Plaintiff Pickard

presented to Primary Health for further evaluation and treatment. She was seen by Aaron

Epperson, PA-C who diagnosed her with acute bilateral low back pain with right sided sciatica.

They discussed that her exam was suggestive of a possible herniated disk in her spine.          Mr.

Epperson prescribed a Medrol Dosepak and informed her that if her symptoms did not resolve in

the next 10-14 days, she should seek further evaluation, imaging and potentially physical therapy.

       17.     With the steroid treatment, Plaintiff Pickard ’s lower back symptoms improved.

She began exercises aimed at strengthening her core in order to prevent further exacerbation of her

lower back pain.    Following one of these exercises, Plaintiff Pickard felt something pop in her




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hip and had an acute worsening of the low back pain she had been experiencing since her slip and

fall in February.

       18.     On April 9, 2019, Ms. Pickard called the Boise VA Medical Center’s Women’s

Clinic to schedule an appointment. She reported a constant 7-9/10 pain level that worsened with

movement and a sharp stabbing right hip pain with radiation down to her right foot as well as right

foot numbness.      Ms. Pickard was scheduled for an appointment the next day to undergo

acupuncture treatment. However, as the day progressed, Plaintiff Pickard experienced a significant

worsening in her pain. She presented the Boise VA Medical Center Emergency Department and

was seen by Julia Mahaffey, PA.

       19.      Plaintiff Pickard described the pertinent history, including the right buttock pain

and numbness down the side of her right leg. Plaintiff Pickard again requested MRI imaging given

her spinal history and the concerns expressed at Primary Health regarding a possible disk

herniation. However, following an examination, Ms. Mahaffey diagnosed her with a simple low

back strain and recommended narcotic medication. Plaintiff Pickard again had to decline narcotic

medication due to actively breastfeeding. She was discharged with orders to continue use of

muscle relaxers as needed, to ice and heat, and to refrain from lifting weights.

       20.      On April 10, 2019, Plaintiff Pickard presented to the Boise VA Medical Center

Women’s Clinic and again saw Ms. Radimer for the “battlefield acupuncture” procedure, which

was unsuccessful at relieving any of the severe lower back pain and radiating symptoms. She

requested an integrated spine consultation to be scheduled by Ms. Radimer and was discharged

home with no follow up instructions. Ms. Radimer did not request an integrated spine consult.

       21.     On April 13, 2019, Plaintiff Pickard again presented to the Boise VA Medical

Center Emergency Department for worsening symptoms including ongoing severe right hip pain




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with lower right leg numbness and burning pain in her right foot and hip. She was seen by Dr.

Rick Wright. She reported she had been tripping at work because her right foot was not

dorsiflexing well and it was getting caught while she walks. She also reported difficulty driving

because she was having trouble pushing the gas pedal with her right foot. Dr. Wright took x-rays

of Plaintiff Pickard ’s low back and right hip and performed a physical examination. He noted his

concern with her right foot drop symptoms and dorsiflexion weakness and determined that MRI

studies of Plaintiff Pickard ’s lumbar spine should be conducted as soon as possible. He

additionally ordered an MRI of Plaintiff Pickard ’s right hip given her ongoing burning pain in the

area. Dr. Wright noted that no integrated spine consultation had been placed and instructed her to

follow up with Ms. Radimer again. Plaintiff Pickard was discharged with instructions to follow up

with her primary care provider once she had obtained the MRI imaging.

        22.     MRI studies were not scheduled until April 16, 2019. The lumbar imaging revealed

a moderate sized disc extrusion at the L5-S1 level with degenerative facet change and left

foraminal stenosis. The MRI to her right hip revealed gluteus minimus and medius insertional tears

bilaterally.

        23.     Plaintiff Pickard presented to the Boise VA Medical Center on April 17, 2019 with

her MRI results and was seen by Talia Sierra, PA. She reported constant pain in her low back and

hip with radiation, continued problems with driving and tripping on her right foot while walking

as a result of decreased sensation and control. She also reported she felt her mobility was

worsening. Ms. Sierra discussed her MRI results and given the neuroforaminal stenosis present at

the L5-S1 area, she advised she would order a community care consult for a neurosurgery

consultation.   Ms. Sierra additionally placed a physical therapy referral for evaluation and

treatment of the gluteal tears. There is no record that Ms. Sierra placed the order for a community




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care consult.

       24.      Plaintiff Pickard presented to physical therapy with Scott Stephens at the Boise VA

Medical Center on April 19, 2019 and April 23, 2019. On both occasions Ms. Pickard reported

constant and severe right hip and lower extremity pain, burning and tingling throughout her right

lower extremity with associated weakness to her right foot causing difficulty dorsiflexing her right

foot, and urinary urgency resulting in frequent incontinence.

       25. On April 19, Mr. Stephen noted concerning red flag symptoms regarding lower

extremity weakness, parathesias, and bowel incontinence.             He requested an expedited

neurosurgical consult. However, Theresa Weiland, D.O., placed a general community care consult

request on April, 20, 2019.

       26. On April 23, 2019, Ms. Pickard again saw Mr. Stephens. She reported an acute

worsening of all symptoms over the past four days. Mr. Stephens again charted concerning

neurological symptoms and he discussed Ms. Pickard ’s case on April 23, 2019 with Teresa

Weiland, DO who suggested a two week frame for a neurological community consult was

appropriate, rather than STAT. time frame was appropriate. Mr. Stephens instructed Ms. Pickard

to follow up with her primary care appointment the next day.

       27.      On April 24, 2019, Ms. Pickard presented to the VA and Ms. Sierra. She reported

more numbness in her right foot and an increase in tripping. She also reported tingling to her groin

with an associated cold sensation in her underwear and ongoing urinary urgency resulting in

incontinence.

       28. A community neurosurgical consult was approved on April 24. Ms. Sierra called Dr.

Little’s office, a local neurosurgeon. She was advised by Dr. Little’s office that he would not set

an appointment until Dr. Little has received and reviewed Ms. Pickard ’s medical records. Ms.




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Sierra made a request to start that process knowing that it would take several days, at best, to

complete.    She thereafter discussed her examination with Theresa Weiland, D.O.             Despite

numerous red flag symptoms noted by Mr. Stephens and reported by Ms. Pickard to Ms. Sierra,

there is no record that D.O. Weiland requested to see Ms. Pickard or perform her own examination.

       29.      Ms. Pickard ’s condition continued to worsen and on May 1, 2019, she presented

to Northwest Neurosurgery Associates and was seen by Derek Martinez, MD for a neurosurgical

evaluation. Dr. Martinez reviewed her history and MRI results and discussed her worsening and

evolving pain presentation. Dr. Martinez expressed concerns about her situation and recommended

prompt surgical intervention. Plaintiff Pickard subsequently underwent an urgent L5-S1

microdiskectomy procedure the following day. Intraoperatively, it was noted that her dural sac

was under obvious tension and Dr. Martinez described the disk herniation as large and tenacious.

       30.     As a direct and proximate result of the Boise VA Medical Center’s failure to timely

address and diagnose Plaintiff Pickard ’s lumbar disk herniation with neural compression, she has

suffered permanent nerve damage to the L5-S1 region. Post operatively, Plaintiff Pickard ’s leg

pain initially improved. However, the permanent nerve damage to the L5-S1 region has resulted

in right foot drop with numbness, weakness, and neuropathy symptoms throughout her lower right

extremity. The permanence of her condition has dramatically affected her quality of life, her ability

to work, and her career path. Plaintiff Pickard has incurred and will continue to incur medical

expenses into the future; her life has been negatively impacted in all aspects because of the

violations of the applicable standards of healthcare practice related to the delay in diagnosis and

proper treatment of her emerging condition and she has suffered significant permanent bodily

injuries, physical and mental pain and suffering, all in an amount to be determined at trial.

       31. Plaintiff Pickard ’s case was reviewed by the VA pursuant to VHA Directive 1004.08




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and the Institutional Disclosure of Adverse Event meeting and discussion took place on July 12,

2019. The facility acknowledged a delay in care.

                                             III.
                                    FIRST CAUSE OF ACTION
                                    (MEDICAL NEGLIGENCE)

       32.       Plaintiff hereby incorporates and realleges each and every preceding paragraph and

incorporate the same by reference herein.

       33.       As of this time, Plaintiff complains and alleges that Defendant owed Plaintiff a duty

to provide the same medical care a reasonable and prudent healthcare provider would under similar

circumstances.

       34.       Defendant has breached their duty in that care and treatment provided to Plaintiff.

       35.       The care and treatment provided by Defendant was wrongful, careless, and

negligent, including, but not limited to the following particulars:

                 a) Failure to timely diagnose and treat Plaintiff’s medical conditions, including the

                    L5-S1 herniated disc with neural compression;

                 b) Failure to timely perform appropriate testing, including but not limited to an

                    MRI or other imaging;

                 c) Failure to timely determine that the herniated disc with neural compression

                    should be surgically repaired;

                 d) Failure to timely consult with or refer to other specialties or facilities;

                 e) Failure to establish and follow appropriate protocols, policies, and procedures;

                 f) Failure to properly train, monitor, and supervise staff; and

       36.       Defendant is vicariously liable for the actions and failures to act of their actual,

apparent, and ostensible agents, including but not limited to physicians, physician assistants,




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residents, nurses, nurse practitioners, assistants, technicians and staff, employees and agents. Upon

information and belief, and at all times relevant herein, all medical providers seen by Plaintiff at

the Boise VA Medical Center, were actual, apparent, or ostensible agents, employees, and/or

contractors of the Boise VA Medical Center, acting within the course and scope of that

relationship.

       37.      As a direct and proximate result of Defendant’s negligence, Plaintiff Pickard

sustained serious and permanent personal physical injuries; she has incurred medical expenses and

other damages, and will continue to incur medical expenses and other damages in the future; she

was forced to endure pain, suffering and mental anguish, and will continue to endure pain,

suffering and mental anguish in the future; she has suffered a loss of enjoyment of life, and will

continue to suffer a loss of the enjoyment of life in the future; and she has lost wages, and will

continue to lose wage in the future.

       38.      The acts and/or omissions set forth above would constitute a claim under the law

of the State of Idaho.

       39.      The Defendant is liable pursuant to 28 U.S.C. § 1346(b)(1).

       40.      The negligent, careless, reckless and/or unlawful acts and/or omissions of the

actual, apparent, and ostensible agents, including but not limited to physicians, physician

assistants, residents, nurses, nurse practitioners, assistants, technicians and staff, employees and

agents, while acting within the course and scope of their employment with the Department of

Veteran’s Affairs and Boise VA Medical Center, which are attributed to Defendant United States

of America, were the sole proximate cause of the injuries and damages sustained by Plaintiff

Pickard .

                                              V.
                                           DAMAGES



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       41.     Plaintiff hereby incorporate and reallege each and every preceding paragraph and

incorporate the same by reference herein.

       42.     As a result of Defendant’s negligent acts and/or omissions complained of herein,

Plaintiff is entitled to recover all damages allowed by law, including, but not limited to:

       1.      Past, present and future expenses for the provision of medical care, treatment,
               therapy, prescriptions and other healthcare services and products in an amount to
               be proven at trial;

       2.      For permanent physical, mental and emotional injuries suffered by Plaintiff
               Stefanie Pickard in the past, and for those damages she will suffer in the future in
               an amount to be proven at trial;

       3.      For past and future loss of wage and/or earning capacity, income and/or expense
               associated with Defendant’s violations of the applicable standards of health care
               practice; in an amount to be proven at trial; and

       4.      For loss of ability for enjoyment of life and diminution of activities of daily living
               in an amount to be proven at trial.

       5.      Attorneys’ fees and costs incurred herein; and

       6.      For such other and further relief as this Court deems just and equitable.

                                      VI.
                     REQUEST FOR ATTORNEYS’ FEES AND COSTS

       As a direct and proximate result of the aforementioned negligent acts and/or omissions of

Defendant, Plaintiff has been compelled to retain attorneys to represent her in this action. Pursuant

to 28 U.S.C. § 2678 and Rule 54(d)(1) of the Federal Rule of Civil Procedure, Plaintiff respectfully

requests that she be awarded reasonable attorneys’ fees and costs incurred herein.

                                            VII.
                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Stefanie Pickard prays that judgment be entered in her favor and

against Defendant as follows:




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         1.    For past, present and future expenses for the provision of medical care, treatment,

therapy, prescriptions and other healthcare services and products, in an amount to be proven at

trial;

         2.    For an award of damages representing the physical, mental and emotional injuries,

pain and suffering, permanent physical disability and loss of ability to enjoy life, suffered by

Plaintiff Stefanie Pickard in the past, present, and those injuries she will continue to suffer in the

future, in an amount to be proven at trial;

         3.    For an award of damages representing the past and future loss of earning capacity,

loss of income and/or expenses to Plaintiff Stefanie Pickard, in an amount to be proven at trial;

         4.    For reasonable attorneys’ fees and costs of suit; and

         5.    For such other and further relief as this Court deems just and equitable given the

circumstances of the case.

         RESPECTFULLY SUBMITTED this 9th day of June, 2021

                                                      COMSTOCK AND BUSH


                                                      /s/ John A. Bush
                                                      ______________________________
                                                      John A. Bush, Of the Firm
                                                      Attorneys for Plaintiff




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